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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JANE DOE, et al.,

                       Plaintiffs,

v.
                                                       Case No.: 1:25-cv-00286
JAMES R. MCHENRY III, in his official
capacity as Acting Attorney General of the
United States; WILLIAM LOTHROP, in his
official capacity as Acting Director of the
Federal Bureau of Prisons,

                       Defendants.


            MOTION FOR ADMISSION PRO HAC VICE OF SARAH K. AUSTIN

       Pursuant to Local Rule 83.2(e) of the United States District Court for the District of

Columbia, Eve Hill of Brown, Goldstein, & Levy LLP, on behalf of the Plaintiffs, hereby moves

for admission of attorney Sarah K. Austin pro hac vice in the above-entitled action. This Motion

is supported by the Declaration of Sarah K. Austin, filed herewith.

            In support thereof, Eve Hill respectfully submits as follows:

       1.      I am an attorney in good standing with the Bar of the District of Columbia and am

also duly admitted to practice in this Court;

       2.      Sarah K. Austin is a member of the bar in good standing with the Maine Bar and

licensed to practice law in the District of Maine;

       3.      Sarah K. Austin is a member in good standing of every jurisdiction where she has

been admitted to practice law;

       4.      Sarah K. Austin has not previously had a pro hac vice admission (or other limited

purpose admission) to this Court revoked for misconduct;
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         5.     Sarah K. Austin has read and agrees to comply with the Local Rules of the U.S.

District Court for the District of Columbia.

         WHEREFORE, this Court should admit Sarah K. Austin pro hac vice to the bar of this

Court.


Dated: February 3, 2025                        Respectfully submitted,


                                                       /s/ Eve Hill
                                               Eve L. Hill (Bar No. 424896)
                                               ehill@browngold.com
                                               BROWN GOLDSTEIN & LEVY, LLP
                                               120 E. Baltimore Street, Suite 2500
                                               Baltimore, MD 21202
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                                 CERTIFICATE OF SERIVCE

       I, Eve Hill, hereby certify that this document is filed with the Clerk of the Court using the

CM/ECF system, which will send notification of such filing to all parties of record in this case by

operation of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.



Dated: February 3, 2025                              /s/ Eve Hill
                                              Eve Hill
